Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 1 of 12 PageID #:5




                            EXHIBIT A
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                                 Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 2 of 12 PageID #:6




     Public Catalog
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     Search Reauest: Left Anchored Title = Bad Davs
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     Search Results: Displaying 13 of 85 entiies




                                                                          Bad_Days.

                   Type of Work: Sound Recording and Music
     Registration Number/ Date: SRu000966389 / 2010-08-06
                Application Title: Bad Days.
                            Title: Bad Days.
                     Tlescripfo:rn· Compact disc,
            Copyright Claimant: Dan Pokorni, 1959-. Address: 4520 N. Richmond St., Chicago, IL, 60625-3826,
                                    United States.
                Date of Creation: 2010
     Authorship on Application: Dan Pokorni, 1959-; Citizenship: United States. Authorship: sound recording,
                                    pc;�fo1111a11cc, prcductio11, 111usic, lyrics.
        Rights and Permissions: Dan Pokorni, 4520 N. Richmond St., Chicago, IL, 60625-3826, United States, (773)
                                    704-3868, (773) 478-8513, dpok:omi(fyaol.com




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                                                                    EXHIBIT B
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                     Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 3 of 12 PageID #:7




                                 The Library has opened access to the reading rooms by appointment
                                 only. More. The Jefferson Building has reopened to visitors via timed,
                                                         ticketed entry. More.




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  Copyright Catalog (1978 to present)
  Search Reauest: Left Anchored Title = Cast Our Love Awav
  Search Results: Displaying 1 of 1 entries




                                                          Cm�t Our Love Away.

                Type of Work: Sound Recording and Music
  Registration Number/ Date: SRu000936509 / 2009-10-23
             Application Title: Cast Our Love Away.
                         Title: Cast Our Love Away.
                  Description: Compact disc,+ lyrics sheet
         Copyright Claimant: Dan Pokomi. Address: 4520 N Richmond St, Chicago, IL 60625-3826.
             Date of Creation: 2009
   Authorship on Application: Da.-i Pokomi, 1959-; Domicile: United States; Citizenship: United States.
                                Authorship: music, sound recording, performance, production.
                                Tony Daiey; Domiciie: United States; Citizenship: United States. Authorship: lyrics,
                                sound recording.
     Rights and Permissions: Dan Pokomi, 4520 N Richmond St, Chicago, IL, 60625-3826, (773) 704-3868, (773)
                                478-8513, dpokomi@aol.com
              Copyright Note: C.O. correspondence.
                              Names: Pokomi, Dan, 1959-
                                     Daiey, TonY-




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                                  only. More, The Jefferson Building has reopened to visitors via timed,
                                                            ticketed entry. More.




  PubUc Catalog
  Copyright Catalog (1978 to present)
  Search Request: Left Anchored Title = Change in the Blink of an Eve
  Search Results: Displaying 1 of 2 entries




                                                          - In The Blink Of- An Eve.
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                Type of Work: Sound Recording and Music
  Registration Number/ Date: SRu001019871 / 2011-05-05
             Application Title: Change In The Blink Of An Eye.
                         Title: Change In The Blink Of An Eye.

        Copyright Claimant: Dan Pokorni, 1959-. Address: 4520 N. Richmond St., Chicago, IL, 60625-3826,
                              United States.
            Date of Creation: 2010
   Authorship on Application: Dan Pokomi, 1959-; Domicile: United States; Citizenship: United States.

          Previous Registration: 2010, SRu 946-030.
          Pre-existing Material: performance, production, music, lyrics.
                 Basis of Claim: sound recording.
        Rights and Permissions: Dan Pokomi, 4520 N. Richmond St., Chicago, IL, 60625-3826, United States, (773)
                                 704-3 868, dpokomi�aol.com
                               Nam.cs: Pokorni, Dan, 1959-




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Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 5 of 12 PageID #:9




                             EXHIBIT E
Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 6 of 12 PageID #:10




                              EXHIBIT F
Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 7 of 12 PageID #:11




                              EXHIBIT F
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                              EXHIBIT F
         Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 9 of 12 PageID #:13




                                        Publishing/Licensing Agreement


Term: October 2012 - October 2015 or agreement will last until duration of deals secured.


AGREEMENT made and entered into this herein below date, by and between Eddie C Life Music or Mediterranean Sun
(hereinafter referred to as the "Publisher") and Dan Pokorni, 4520 N. Richmond St., Chicago, IL 60625-3826 (hereinafter
referred to as "Assignee").

The Publisher and Assignee agrees as follows concerning musical composition songs on Appendix A of agreement.

Written by Dan Pokorni

For good and valuable consideration by each of the parties hereto given to the other, receipt of which is hereby
acknowledged, and in consideration of the promises and covenants hereinafter contained, IT IS AGREED AS FOLLOWS:


Grant of Rights- In exchange for the best good faith efforts of Eddie C Life Music or Mediterranean Sun. (Publisher) to
render production services and use its resources to secure sub publishing deals, music ,Placements for Assignee's
compositions in film, television, DVD, compilations, song placements, digital, mobile, and online distribution, internet
and/or other distribution mediums now known or hereinafter devised:


 - Assignee grants Eddie C Life Music or Mediterranean Sun. (Publisher) 'Attorney-in-fact' rights to negotiate conclude
and execute on its behalf all agreements, licenses and documents necessary to effectuate this agreement and/or exploit
the compositions set forth in this agreement.


Assignee grants tq publisher, the Exclusive right to administer, re-title, for 36 months, both master and sync rights of the
compositions listed in the Assignee agreement. Assignee agrees to assign 100% of his so-called "publishers" share to
Publisher for 36 months or if a deal is secured in perpetuity. Publisher shall collect fees for placements of masters on
non-interactive webcast and streaming of masters (Payable by Sound Exchange in the US) The collection right is for
masters only. SOLELY IN TERRITORIES WHERE PUBLISHER HAS SECURED SUB PUBLISHING, AND LICENSING DEALS.


1. Publisher shall deduct from gross publishing receipts (monies received) for the following expenses to the extent that
said expenses were actually paid or incurred by the Publisher including, but not limited to, songwriter's royalties and
advances, registration fees, demonstration tapes, lead sheets, arrangements, and all other miscellaneous, fees and
expenses incurred in behalf of said composition; Publisher shall pay to Assignee FIFTY (500/o} of:

                                                  EXHIBIT G
Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 10 of 12 PageID #:14




                              EXHIBIT G
Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 11 of 12 PageID #:15




                              EXHIBIT G
Case: 1:21-cv-06703 Document #: 1-1 Filed: 12/16/21 Page 12 of 12 PageID #:16




                              EXHIBIT G
